Case 1:23-cr-20271-DSL Document 103-1 Entered on FLSD Docket 03/27/2024 Page 1 of 7




                                    UNITED STATES DISTRICT COURT
                                    SOUTHERN DISTRICT OF FLORIDA

                                             CASE NO. 1:23-CR-20271

   UNITED STATES OF AMERICA,

   vs.

   BLACKMAN ET AL.

                              Defendants.
                                                  /

                            (PROPOSED) DISCOVERY PROTOCOL ORDER

            The Court GRANTS the Government’s Unopposed Motion for Entry of a Discovery

   Protocol Governing the Production of Potentially Protected Material pursuant to Federal Rule of

   Criminal Procedure 16.

            IT IS ORDERED:

            1.       The Protective Orders issued on August 1, 2023 (ECF No. 20) and August 17,

   2023 (ECF No. 31) will apply to any discovery, including material produced by the Filter Team

   to Defendants or a non-party pursuant to the Protocol.

            2.       This Discovery Protocol Order (the “Protocol”) governs the production of

   Potentially Protected Material 1 in this case.

            3.       The Government Filter Team may not share a first-level supervisor with anyone on

   the investigative/prosecution team (the “Prosecution Team”). Any supervisor involved in the Filter

   Team’s review will be walled off from the underlying investigation.




   1
     “Potentially Protected Material” is discovery material that is potentially protected from disclosure by the attorney-
   client privilege, work-product doctrine, or any other legally recognized privilege or protection.

                                                             1
Case 1:23-cr-20271-DSL Document 103-1 Entered on FLSD Docket 03/27/2024 Page 2 of 7




          4.       The Government’s Filter Team will segregate Potentially Protected Material from

   the Prosecution Team and Defendants unless the Court or the ostensible holder of the potential

   privilege(s) or protection(s) expressly authorizes the production of the Potentially Protected

   Material to the specific recipient.

          5.       The Filter Team will produce discovery material that is not Potentially Protected

   Material to the Prosecution Team, which will then produce the material to all Defendants.

          6.       If a Defendant is the ostensible holder of the potential privilege(s) or protection(s)

   for any Potentially Protected Material, the Filter Team will notify that Defendant before producing

   any of Defendant’s Potentially Protected Material to the Prosecution Team using the following

   procedure:

                a. Notice: The written notice to a Defendant must include:

                        i. An electronic index identifying the Potentially Protected Material
                           scheduled for production;
                       ii. A copy of this Protocol.

                b. Objections: If a Defendant objects to the Filter Team’s production of
                   certain items to the Prosecution Team and all other Defendants, the
                   Objecting Defendant must send a written objection to the Filter Team within
                   thirty (30) days of receiving the notice of scheduled production. The
                   objection must include a privilege log setting forth, for each item logged:

                        i. The Bates number range for the item;
                       ii. The item title or a description of the item’s subject matter;
                      iii. The date the item was created;
                      iv. The author(s) of the item;
                       v. The recipient(s) of the item, if any;
                      vi. Transmittal details of the item, if any;
                      vii. The party asserting the potential privilege(s) and/or protection(s);
                           and
                     viii. The legally recognized privilege(s) and/or protection(s) asserted
                           that preclude production of each item logged and a description
                           sufficient to enable evaluation of that assertion without reviewing

                                                      2
Case 1:23-cr-20271-DSL Document 103-1 Entered on FLSD Docket 03/27/2024 Page 3 of 7




                          the document itself, including the identity of any attorneys (or other
                          persons) whose role(s) in the item at issue form(s) the basis for the
                          assertion.

               c. Non-Logged Potentially Protected Material: The Filter Team will produce
                  to the Prosecution Team and Non-Objecting Defendants the Potentially
                  Protected Material that the Objecting Defendant does not include on the
                  privilege log without the need for the Court’s approval.

               d. Failure to Object or Assert: If Objecting Defendant fails to adequately
                  object within thirty (30) days of the notice of scheduled production, the
                  Filter Team will provide the Prosecution Team and Non-Objecting
                  Defendants with information regarding the Filter Team’s attempts to
                  contact Objecting Defendant and the subsequent failure to respond.
                  Thereafter, the Government or any Non-Objecting Defendant may forego
                  Subparagraph (f) below and move the Court for a finding that Objecting
                  Defendant waived any privilege(s) and/or protection(s) over the Potentially
                  Protected Material identified in the notice of scheduled production.

               e. Failure to Comply: If Objecting Defendant fails to (i) provide to the Filter
                  Team a privilege log that complies with Subparagraph (b) above, or (ii)
                  meet and confer in accordance with Subparagraph (f) below, the Filter Team
                  or any Non-Objecting Defendant may move the Court, under seal, to
                  determine that such inactions constitute waiver of any privilege(s) and/or
                  protection(s) over the Potentially Protected Material.

               f. Meet and Confer Requirement: The Filter Team will have ten (10) days
                  from the receipt of any objection(s) and required privilege log to meet and
                  confer with Objecting Defendant to try and resolve any disagreements
                  concerning the objection(s). All Defendants must be given notice of the
                  date and time of the meet and confer and may participate through counsel.

               g. Motion to Compel: If, following the meet and confer process, the parties
                  cannot resolve all disputes, the Filter Team or any Non-Objecting
                  Defendant may move the Court, under seal, to determine whether
                  documents subject to a disagreement are privileged. Upon the Court’s
                  request, the objecting Defendant will provide a copy of the disputed
                  Potentially Protected Material to the Court ex parte and under seal for in
                  camera review.

          7.      If a non-party to this case is the ostensible holder of the potential privilege(s) or

   protection(s) of any Potentially Protected Material, the Filter Team will notify the non-party before

   producing their Potentially Protected Material to the Prosecution Team and/or Defendants.

   However, if this notice would jeopardize an ongoing investigation, the Filter Team may instead

                                                    3
Case 1:23-cr-20271-DSL Document 103-1 Entered on FLSD Docket 03/27/2024 Page 4 of 7




   seek authorization from the Court on how to produce the Potentially Protected Material to

   Defendants and/or the Prosecution Team.          Absent the potential to jeopardize an ongoing

   investigation, the following procedure will apply when the ostensible holder of the potential

   privilege(s) or protection(s) over any Potentially Protected Material is a non-party:


              a. Notice: The written notice to a non-party must include:

                      i. The criminal case number of this proceeding;
                      ii. An electronic index identifying the Potentially Protected Material
                          scheduled for production;
                     iii. An electronic copy of the Potentially Protected Material scheduled
                          for production;
                     iv. A copy of each of the Protective Orders in this case (Docket Entry
                         Nos. 20 and 31); and
                      v. A copy of this Protocol.

              b. Objections: If the non-party objects to the Filter Team’s production of
                 certain items to Defendants and/or the Prosecution Team, the non-party
                 must send a written objection to the Filter Team and counsel for Defendants
                 within thirty (30) days of receiving the notice of scheduled production. The
                 objection must include a privilege log setting forth, for each item logged:

                       i. The Bates number range for the item;
                       ii. The item title or a description of the item’s subject matter;
                      iii. The date the item was created;
                      iv. The author(s) of the item;
                       v. The recipient(s) of the item, if any;
                      vi. Transmittal details of the item, if any;
                     vii. The party asserting the potential privilege(s) and/or protection(s);
                          and
                     viii. The legally recognized privilege(s) and/or protection(s) asserted that
                           preclude production of each item logged and a description sufficient
                           to enable evaluation of that assertion without reviewing the
                           document itself, including the identity of any attorneys (or other
                           persons) whose role(s) in the item at issue form(s) the basis for the
                           assertion.



                                                     4
Case 1:23-cr-20271-DSL Document 103-1 Entered on FLSD Docket 03/27/2024 Page 5 of 7




               c. Non-Logged Potentially Protected Material: The Filter Team will produce
                  to the Prosecution Team and Defendants the Potentially Protected Material
                  that the non-party claimant does not include on the privilege log without the
                  need for the Court’s approval.

               d. Failure to Object or Assert: If the non-party fails to adequately object within
                  thirty (30) days of the notice of scheduled production, the Filter Team will
                  provide the Prosecution Team and Defendants with information regarding
                  the Filter Team’s attempts to contact the non-party and the subsequent
                  failure to respond. Thereafter, the Government or any Defendant may
                  forego Subparagraph (g) below and move the Court for a finding that the
                  non-party waived any privilege(s) or protection(s) over the Potentially
                  Protected Material identified in the notice of scheduled production.

               e. Failure to Comply: If a non-party fails to (i) provide to the Filter Team and
                  Defendants a privilege log that complies with Subparagraph (c) above, or
                  (ii) meet and confer in accordance with Subparagraph (f) below, the Filter
                  Team or any Defendant may move the Court, under seal, to determine that
                  such inactions constitute waiver of any privilege(s) and/or protection(s)
                  over the Potentially Protected Material.

               f. Meet and Confer Requirement: The Filter Team and Defendants will have
                  ten (10) days from the receipt of any objection(s) and required privilege log
                  to meet and confer with the non-party to try and resolve any disagreements
                  concerning the objection(s). All Defendants must be given notice of the date
                  and time of the meet and confer and may participate through counsel.

               g. Motion to Compel: If, following the meet and confer process, the parties
                  and non-parties cannot resolve all disputes, the Filter Team or any
                  Defendant may move the Court, under seal, to determine whether
                  documents subject to a disagreement are privileged. The moving party must
                  also serve a copy of the motion and attachments on the non-party. Upon
                  the Court’s request, the objecting non-party will provide a copy of the
                  disputed Potentially Protected Material to the Court ex parte and under seal
                  for in camera review.

          8.      An ostensible holder of any potential privilege(s) and/or protection(s) may assert a

   claim over material previously produced as non-Potentially Protected Material to Defendants

   and/or the Prosecution Team by providing a written objection to the recipient Defendants and/or

   the Prosecution Team detailing, with specificity, the impacted documents and basis of the asserted

   privilege(s) and/or protection(s). The Filter Team will promptly claw back the identified material

   from the Prosecution Team. If a Defendant is not also a holder of the privilege(s) and/or

                                                     5
Case 1:23-cr-20271-DSL Document 103-1 Entered on FLSD Docket 03/27/2024 Page 6 of 7




   protection(s), that Defendant must promptly return, sequester, or destroy the identified material

   (and any copies); must not use or disclose the material until the objection is resolved; and must

   take reasonable steps to retrieve the material if the Defendant disclosed it before receiving the

   objection. The identified material will then be treated as Potentially Protected Material under

   Paragraph six (6) or seven (7), whichever is applicable.

            9.    The Court retains jurisdiction to resolve any dispute or adjudicate any claim of

   privilege or protection asserted over discovery material produced pursuant to the Protocol,

   including if, and under what circumstances, a party may use the Potentially Protected Material at

   trial.

            10.   Pursuant to Federal Rule of Evidence 502(d), any Potentially Protected Material

   produced to the Prosecution Team, Defendants, or a non-party under this Protocol or subsequent

   order in this proceeding, will not automatically constitute a waiver or forfeiture of any privilege or

   protection claim in any other federal or state judicial or administrative proceeding.

            11.   All parties have the right to present to the Court any Potentially Protected Material

   to adjudicate whether the material is indeed privileged, protected, and/or if an exception to any

   privilege or protection applies, including, but not limited to, the crime-fraud exception or waiver.

   Under Federal Rule of Evidence 502(d), a production to determine whether materials are

   privileged or protected pursuant to this paragraph will not itself automatically constitute a waiver

   or forfeiture of any claim of privilege or protection.

            12.   If any member of the Prosecution Team inadvertently reviews Potentially Protected

   Material, the Prosecution Team member must immediately cease review of the Potentially

   Protected Material and turn the Potentially Protected Material over to the Filter Team for




                                                     6
Case 1:23-cr-20271-DSL Document 103-1 Entered on FLSD Docket 03/27/2024 Page 7 of 7




   processing in accordance with this Protocol. Inadvertent review of Potentially Protected Material

   will not automatically disqualify a Prosecution Team member from this matter.

          13.    The Parties and non-parties subject to this Protocol may extend its deadlines by

   written agreement or by requesting the same from the Court upon good cause shown.



          SO ORDERED.



   ___________________________
   Date

                                               __________________________________________
                                               THE HONORABLE DAVID S. LEIBOWITZ
                                               U.S. DISTRICT COURT JUDGE




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